The facts and issues in this case are stated in the opinion rendered today in the case entitled Earl K. Long v. Wade O. Martin, Chairman of the State Central Committee, et al., In re: James A. Gremillion applying for Writs of Certiorari, Prohibition and Mandamus, 194 La. 797, 194 So. 896. For the reasons given in that case:
The rule to show cause and the alternative writs of prohibition and mandamus issued by this court in these proceedings are now made peremptory; and, accordingly, the temporary restraining order granted by Judge James D. Womack on the 7th day of March, 1940, in the suit entitled Earl K. Long v. Frank J. Looney, Chairman of the State Central Committee, et al., No. 15138 of the docket of the 19th Judicial District Court, for the Parish of *Page 812 
East Baton Rouge, is annulled and set aside; and the suit itself is ordered dismissed and the demands of the plaintiff rejected at his cost.
HIGGINS, J., concurs in the decree and hands down reasons in No. 35752, 194 La. 797, 194 So. 896.